                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

IN RE:                                     )
                                           )             Chapter 11
Alabama Partners, LLC                      )             Case No. 17-03469-TOM
             Debtor.                       )
IN RE:                                     )
                                           )             Chapter 11
Bamachex, Inc.                             )             Case No. 17-03471-TOM
       Debtor.                             )
IN RE:                                     )
                                           )             Chapter 11
Maryland LC Ventures, LLC                  )             Case No. 17-03471-TOM
            Debtor.                        )
IN RE:                                     )
                                           )             Chapter 11
Maryland Pizza, Inc.                       )             Case No. 17-03473-TOM
             Debtor.                       )
IN RE:                                     )
                                           )             Chapter 11
PG County Partners, LLC                    )             Case No. 17-03474-TOM
             Debtor.                       )
IN RE:                                     )
                                           )             Chapter 11
PG County Pizza, Inc.                      )             Case No. 17-03475-TOM
             Debtor.                       )
                                           )


                          CONSENT ORDER GRANTING RELIEF
                              FROM AUTOMATIC STAY

         This matter comes before the Court on the Motion for Relief from Automatic Stay (the

“Motion”) filed by Unifi Equipment Finance, Inc., f/k/a Ervin Leasing Company (“Unifi”) and

on the stipulation of Maryland LC Ventures, LLC. (“Debtor”) to the following facts and to the

form and entry of this Order as reflected below pursuant to Federal Rules of Bankruptcy

Procedure 4001(d):




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       1.      On August 11, 2017, Debtor along with other affiliates filed its Voluntary Petition

for Relief under Chapter 11 of the United States Code (the “Petition Date”).

       2.      Debtor has continued in possession of its property and is continuing to operate

and manage its business as a debtor in possession pursuant to §§ 1107(a) and 1108 of the

Bankruptcy Code.

       3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1408 and

1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       4.      On or about August 26, 2014, Unifi and the Debtor entered into an Equipment

Finance Agreement for certain security system equipment (“Unifi Agreement”). A copy of the

Equipment Finance Agreement and supporting documents are attached as Exhibit A to the

Motion and are incorporated herein by reference.

       5.      The Unifi Agreement requires a down payment of $3,491.18 and 58 monthly

payments to Unifi in the amount of $1,495.59 plus any applicable taxes.

       6.      As of March 2018, the payoff balance due on the account was $34,398.57, plus

attorney fees and costs. Debtor is delinquent on said account for October 2017 through February

2018 payments in the amount of $7,777.95.

       7.      The parties have agreed to relief from the automatic stay and Debtor will make

the equipment available for pickup by Unifi during ordinary business hours as soon as

practicable after entry of this Order or as otherwise agreed between the Debtor and Unifi.

       NOW, THEREFORE, based upon the consent of the Debtors and the stipulation of the

parties, IT IS HEREBY ORDERED that:

       a.      The automatic stay of 11 U.S.C. § 362(a) is modified with respect to the
               Unifi Agreement such that Unifi may pick up the equipment which remains
               in the Debtor’s possession during ordinary hours as soon as practicable after
               entry of this Court Order or as otherwise agreed between the Debtor and

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                Unifi, and Unifi has relief from the stay to liquidate the equipment in a
                commercially reasonable manner.
       b.       Nothing herein shall limit or otherwise impact Unifi’s right to assert claims
                in this case or the rights of any other party to object to the allowance
                thereof.
       c.       The provisions of Federal Rule of Bankruptcy Procedure 4001(a)(3) are
                hereby waived.


                                                             U.S. Bankruptcy Judge
Submitted By:

/s/ Mark P. Williams
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With Consent By:

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